Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 1 of 28 Page ID #:1



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15

16                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
17                            WESTERN DIVISION
18
     DISH NETWORK L.L.C.,                    Case No. 2:18-cv-9768
19
                  Plaintiff,                 PLAINTIFF’S COMPLAINT FOR:
20
            v.                                 1) Direct Copyright Infringement,
21                                                17 U.S.C. § 501;
22   JADOO TV, INC., SAJID SOHAIL,
     HASEEB SHAH, EAST WEST                    2) Contributory/Inducing and
23   AUDIO VIDEO, INC., and PUNIT                 Material Contribution to
     BHATT,                                       Copyright Infringement, 17 U.S.C.
24                                                § 501; and
                  Defendants.
25                                             3) Vicarious Copyright
                                                  Infringement, 17 U.S.C. § 501
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                                                                     PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 2 of 28 Page ID #:2



 1         Plaintiff DISH Network L.L.C. (“DISH”) sues Defendants Jadoo TV, Inc.
 2   (“JadooTV”); Sajid Sohail (“Sohail”); Haseeb Shah (“Shah”); and East West Audio
 3   Video, Inc. and Punit Bhatt (collectively, “East West”), and states:
 4                            PRELIMINARY STATEMENT
 5         1.     The facts in this complaint describe a wide-ranging, deliberate, multi-
 6   year effort by JadooTV to transmit television channels it failed to license in blatant
 7   disregard of DISH’s exclusive rights. JadooTV’s scheme targeted television
 8   channels exclusively licensed to DISH to increase JadooTV’s channel offerings, to
 9   appeal to consumers, to avoid licensing fees, and to create a competitive advantage
10   against DISH. JadooTV’s illegal business model allowed JadooTV to competitively
11   harm DISH because JadooTV did not pay license fees to the channel owners, while
12   DISH did pay licensing fees for the same channels.
13         2.     In its early years, JadooTV designed its service to directly stream
14   unlicensed television channels through the Jadoo branded set-top box, and in
15   response to cease and desist letters, JadooTV denied it intended to infringe. JadooTV
16   subsequently changed the way it offered unlicensed channels by requiring users to
17   download extra software files to their Jadoo set-top boxes to integrate those
18   channels. When DISH complained, JadooTV denied that it had anything to do with
19   the software files.
20         3.     Today, the latest model Jadoo set-top boxes are sold to users pre-
21   configured to locate and install software files needed to integrate the unlicensed
22   television channels and seamlessly incorporate those channels into the Jadoo on-
23   screen electronic program guide. By pre-configuring Jadoo set-top boxes to locate
24   and install these software files, JadooTV is able to offer additional television
25   channels in what it calls the “South Asian Super Pack,” which includes the channels
26   exclusively licensed to DISH.
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                                             2                        PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 3 of 28 Page ID #:3



 1          4.      JadooTV and Shah also provide unlicensed video on demand content to
 2   Jadoo users, including infringing versions of the programs that air on the unlicensed
 3   television channels.
 4          5.      JadooTV and its co-defendants are liable for copyright infringement.
 5                                              PARTIES
 6          6.      Plaintiff DISH Network L.L.C. is a Colorado limited liability company
 7   with its principal place of business at 9601 South Meridian Boulevard, Englewood,
 8   Colorado 80112.
 9          7.      Defendant Jadoo TV, Inc. is a California corporation with its principal
10   place of business at 5880 West Las Positas Boulevard, Suite 37, Pleasanton,
11   California 94588.
12          8.      Defendant Sajid Sohail is an individual residing in Pleasanton,
13   California. Sohail is the founder, chief executive officer, president, and an owner of
14   Jadoo TV, Inc.         Upon information and belief, Sohail authorized, controlled,
15   participated in, and received direct financial benefits from the infringing activities of
16   Jadoo TV, Inc. alleged herein. 1 The acts Sohail engaged in as an agent of JadooTV,
17   Inc. are believed to have been within the scope of such agency.
18          9.      Defendant Haseeb Shah is an individual residing in Islamabad, Pakistan.
19   Upon information and belief, Shah is an agent of JadooTV and acted within the scope
20   of such agency when engaging in the infringing activities as alleged herein.
21          10.     Defendant East West Audio Video, Inc. is a California corporation with
22   its principal place of business at 18618½ Pioneer Boulevard, Artesia, California
23   90701.
24          11.     Defendant Punit Bhatt (“Bhatt”) is an individual residing in Artesia,
25   California. Bhatt is the chief executive officer, president, sole director, and an owner
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       The allegations made by DISH concerning the whereabouts and wrongful conduct of Defendants
27   are based on the investigation completed to date, and with the reasonable belief that further
     investigation and discovery in this action will lead to additional factual support. Therefore, DISH
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     reserves the right to supplement or amend its claims and the basis for those claims, with leave of
     court if needed, as additional investigation and discovery is conducted.
                                                     3                            PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 4 of 28 Page ID #:4



 1   of East West Audio Video, Inc. Upon information and belief, Bhatt authorized,
 2   controlled, participated in, and received direct financial benefits from the infringing
 3   activities of East West Audio Video, Inc. as alleged herein. The acts Bhatt engaged
 4   in as an agent of East West Video, Inc. are believed to have been within the scope of
 5   such agency.
 6                             JURISDICTION AND VENUE
 7         12.    DISH asserts claims under the Copyright Act, 17 U.S.C. § 101 et seq.
 8   This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338.
 9         13.    Personal jurisdiction over Defendants is proper in this Court because all
10   Defendants purposefully directed their conduct towards and purposefully availed
11   themselves of the privileges of conducting business activities within California.
12   JadooTV, Sohail, and East West reside in California and sell Jadoo set-top boxes to
13   consumers in the United States, including those residing in California. JadooTV,
14   Sohail, and Shah transmitted works that aired on channels exclusively licensed to
15   DISH to users of the Jadoo set-top box in the United States (“Jadoo Users”),
16   including those residing in California. Defendants’ conduct is causing injury to
17   DISH in California.
18         14.    In the alternative, personal jurisdiction is proper against Shah under
19   Rule 4(k)(2) of the Federal Rules of Civil Procedure because this Court’s exercise of
20   jurisdiction is consistent with the Constitution and laws of the United States, DISH’s
21   claims arise under federal law, and Shah is not subject to the jurisdiction of the courts
22   of general jurisdiction of any state.
23         15.    Venue is appropriate in this Court under 28 U.S.C. § 1391(b)(1) because
24   East West resides in this judicial district and all other defendants considered to
25   determine venue are in California, § 1391(b)(2) because a substantial part of the
26   events giving rise to DISH’s claims occurred in this district, and § 1391(b)(3) because
27   Defendants are subject to personal jurisdiction in this district. Venue is also proper
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                                              4                         PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 5 of 28 Page ID #:5



 1   in this Court under 28 U.S.C. § 1400(a) because the case involves violations of the
 2   Copyright Act.
 3                                 DISH’S COPYRIGHTS
 4         16.    DISH is the fourth largest pay-television service in the United States
 5   providing copyrighted programming to millions of subscribers nationwide with
 6   satellite delivery under the “DISH” brand and through over-the-top (“OTT”) services
 7   under the “Sling TV” brand whereby programming is delivered using a public
 8   Internet infrastructure. Through its satellite and Sling TV services, DISH is one of
 9   the largest providers of international television channels in the United States offering
10   more than 400 channels in 27 different languages.
11         17.    DISH contracts for and licenses rights for the international channels
12   distributed on its platform from channel owners and their agents, including ARY
13   Digital USA LLC; B4U U.S., Inc.; Bennett, Coleman and Company Limited;
14   Century Media Network Inc.; Television Media Network (Pvt) Ltd; GEO USA LLC;
15   Hum Network Limited; Impress Telefilm, Inc.; National Communications Services
16   (SMC-PVT.) Limited; Soundview ATN LLC; Soundview Broadcasting LLC; and
17   TV Today Network Ltd. (collectively, the “Networks”).
18         18.    The Networks’ channels include Aaj Tak; ARY Digital; ARY News;
19   ATN Bangla; ATN News; B4U Music; Channel-i; Dunya TV; Express
20   Entertainment; Express News; Geo News; Geo TV; Hum Masala; Hum Sitaray; Hum
21   TV; Hum World; India Today (a/k/a/ Headlines Today); NTV Bangla; and Times
22   Now (collectively, the “Protected Channels”). The Networks acquire copyrights in
23   the works that air on their respective channels, including by producing the works and
24   by assignment.
25         19.    DISH entered into signed, written licensing agreements with the
26   Networks granting DISH the exclusive right to distribute and publicly perform the
27   Protected Channels and works that air on the Protected Channels in the United States
28   by means including satellite, OTT, Internet protocol television (“IPTV”), and

                                              5                        PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 6 of 28 Page ID #:6



 1   Internet. DISH’s exclusive rights were in effect at all relevant times and are currently
 2   in effect. Registrations are pending with the United States Copyright Office for at
 3   least 40 copyrighted works that aired on the Protected Channels and for which DISH
 4   holds exclusive distribution and public performance rights. (See Exhibit 1.) A vast
 5   number of additional, unregistered copyrighted works in which DISH holds exclusive
 6   distribution and public performance rights also aired on the Protected Channels. (See
 7   Exhibit 2.)
 8          20.    Defendants are not authorized by DISH to transmit, distribute, or
 9   publicly perform the Protected Channels or works that air on those channels in the
10   United States, and DISH has received no compensation from Defendants.
11                          JADOOTV’S WRONGFUL CONDUCT
12          21.    JadooTV distributes, sells, and promotes Jadoo branded set-top boxes to
13   consumers to be used to receive JadooTV’s television service. JadooTV does this
14   directly and also through distributors and retailers.
15          22.    JadooTV promotes its set-top boxes on its official website,
16   www.Jadootv.com (“Jadootv.com”), as “Delivering Over 1000 Live Channels,
17   Million Hours of VOD content, Thousands of movies and 3rd party Apps.” 2
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23          23.    However, JadooTV’s set-top boxes provide Jadoo Users with less than
24   1,000 live channels. JadooTV only delivers over 1,000 live channels to Jadoo Users
25   if it counts the additional channels in the South Asian Super Pack (“SASP”), which
26   includes the Protected Channels.
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       See https://jadootv.com/comparison/. In other places on its website, JadooTV advertises that its
     set-top boxes “come[] loaded with 1500+ Live TV Channels.” See https://jadootv.com/jadoo5s/.
                                                  6                            PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 7 of 28 Page ID #:7



 1         24.    Any person in the United States with Internet access can receive
 2   unauthorized access to the Protected Channels, and the works that air on the Protected
 3   Channels, by using a Jadoo4, Jadoo5, or Jadoo5s model set-top box. JadooTV sells
 4   its Jadoo5s set-top box on Jadootv.com for approximately $199.
 5         25.    JadooTV presents television channels in its set-top boxes to Jadoo Users
 6   in two ways. The first is through a “Live TV” menu that displays the channel logos
 7   of television channels available to be viewed using the Jadoo set-top box.
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17         26.    The second is through an “eMedia” menu that displays the channel logos
18   of the additional channels in the SASP, including the Protected Channels that
19   JadooTV does not have rights to publicly perform in the United States.
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                                             7                        PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 8 of 28 Page ID #:8



 1            27.     JadooTV promotes its eMedia app as one of the key features of its set-
 2   top boxes, as shown in the following advertisement on Jadootv.com: 3
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12            28.     JadooTV intends for Jadoo Users to use its eMedia app to view
13   television channels that JadooTV does not have rights to publicly perform in the
14   United States. Despite JadooTV’s instructions to Jadoo Users described below, there
15   are only three Jadoo eMedia files available.
16            29.     The content delivery network (“CDN”) that JadooTV uses to provide
17   television channels to Jadoo Users through the Live TV menu of its set-top boxes is
18   Highwinds Network Group Inc. (“Highwinds”). Highwinds has also been the CDN
19   used to provide the additional channels in the SASP, including the Protected
20   Channels, to Jadoo Users through the eMedia menu of its set-top boxes. JadooTV
21   provides an eMedia Content XML Interface guide at its website Jadootv.com that
22   provides detailed instructions on how users can add content to Jadoo set-top boxes
23   with eMedia and securely provide the content to only Jadoo Users with the
24   Highwinds CDN. 4 However, in order to work, these instructions require additional
25   information known only to JadooTV, being JadooTV’s eMedia passphrase and
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27   3
         See https://jadootv.com/comparison/.
28   4
      See https://jadootv.com/wp-
     content/themes/twentyseventeen/assets/emedia/eMedia_Features_XMLInterface_V1.3.pdf.
                                                 8                       PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 9 of 28 Page ID #:9



 1   passphrase field name. This additional information is not contained in the eMedia
 2   Content XML Interface guide and is not otherwise publicly available. JadooTV is
 3   believed to have provided the missing passphrase and passphrase field name to third
 4   party direct infringers so that the third parties could use the Highwinds CDN to
 5   securely provide the SASP, including the Protected Channels, to only Jadoo Users.
 6                A.    Jadoo5s Set-top Boxes are Pre-configured to Access the
 7                      Protected Channels.
 8         30.    JadooTV’s newest model set-top box is the Jadoo5s.
 9         31.    The Jadoo5s set-top box is pre-configured so that when it is powered on
10   it automatically locates and installs software files that integrate a set of additional
11   channels, which JadooTV labels the “South Asian Super Pack.” The Protected
12   Channels are among those additional channels in the SASP. JadooTV does not have
13   rights to publicly perform any of the Protected Channels in the United States.
14   Nevertheless, the Jadoo5s set-top box seamlessly incorporates these channels into its
15   eMedia menu.      The following is a screenshot showing the Pakistani language
16   Protected Channels on the eMedia menu of a Jadoo5s set-top box:
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                                             9                        PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 10 of 28 Page ID #:10



  1         32.   The Jadoo5s set-top box also seamlessly incorporates the SASP
  2   channels into its Live TV menu. The following is a screenshot showing Pakistani
  3   language Protected Channels in the Live TV menu of a Jadoo5s set-top box:
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 15               B.     Jadoo4 and Jadoo5 Set-top Boxes are Pre-configured to
 16                      Access the Protected Channels with Minimal Effort from
 17                      Jadoo Users.
 18         33.   JadooTV’s older set-top box models include the Jadoo4 and Jadoo5.
 19         34.   With regard to the Jadoo4 and Jadoo5 set-top boxes, JadooTV designed
 20   its technology so that Jadoo Users can manually locate and install the software files
 21   needed to integrate SASP channels into the eMedia and Live TV menus of the Jadoo4
 22   and Jadoo5 set-top boxes.
 23         35.   Originally, JadooTV instructed Jadoo Users that its “eMedia App has a
 24   built in capability to search GitHub for any file that uses this prefix” identifying
 25   “Jadoo-eMedia_XML_*.” Jadoo Users simply clicked the “Search” button on the
 26   eMedia menu of the Jadoo4 and Jadoo5 set-top boxes and it identified all GitHub
 27   files labeled with the prefix “Jadoo-eMedia_XML_*,” which included the software
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                                              10                      PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 11 of 28 Page ID #:11



  1   files needed to integrate SASP channels, including the Protected Channels, into the
  2   eMedia and Live TV menus of the set-top box, among only a few other software files.
  3         36.   DISH and the Networks sent written notices of infringement to JadooTV
  4   demanding that JadooTV remove and block SASP from Jadoo set-top boxes.
  5   JadooTV refused to comply with these demands, claiming that it had not distributed
  6   Jadoo set-top boxes containing SASP and that it had taken no part in encouraging or
  7   directing users of Jadoo set-top boxes to access SASP or the Protected Channels.
  8         37.   DISH subsequently sent multiple written notices of infringement to
  9   GitHub demanding that SASP files be removed from its file-sharing service. GitHub
 10   removed SASP files from its service. Following the removal of SASP files from
 11   GitHub, the eMedia search function no longer provided Jadoo Users with SASP files.
 12   After this removal, in order to access the Protected Channels, Jadoo Users needed to
 13   know how to manually enter a website address to locate and install the SASP files to
 14   Jadoo4 and Jadoo5 set-top boxes.
 15         38.   Today, Jadoo Users of the Jadoo4 and Jadoo5 set-top boxes may click
 16   the “URL” button on the eMedia menu and enter the http://doip.su website address
 17   to locate and install the software files needed to integrate SASP channels, including
 18   the Protected Channels, into the eMedia and Live TV menus of the set-top box.
 19         39.   JadooTV support agents instruct Jadoo Users with Jadoo4 and Jadoo5
 20   set-top boxes on how to add channels using the eMedia menu. Specifically, JadooTV
 21   instructs Jadoo Users to go to YouTube and search for instructional videos by typing
 22   “EMedia jadootv” or “emedia url.” Jadoo Users are instructed to look at the first few
 23   videos in the search as shown by the following chat:
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                                              11                      PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 12 of 28 Page ID #:12



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 16         40.    Another example of JadooTV technical support agents providing these
 17   instructions is the following chat:
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 26         41.    The results of the YouTube searches as directed by JadooTV technical
 27   support agents identify a video titled “Emedia URL 2018” that shows users how to
 28   locate and install the software files needed to integrate SASP channels, including the

                                              12                       PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 13 of 28 Page ID #:13



  1   Protected Channels, into the eMedia and Live TV menus of the Jadoo4 and Jadoo5
  2   set-top boxes. The following is a screenshot from this video, which has more than
  3   30,300 views:
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 14         42.    After Jadoo Users follow these instructions, they can view the Protected
 15   Channels in the Live TV and eMedia menus of the Jadoo4 and Jadoo5 set-top boxes.
 16         43.    DISH and the Networks sent JadooTV another notice of infringement
 17   as recently as June 28, 2018, demanding that JadooTV remove and block SASP from
 18   Jadoo set-top boxes. JadooTV refused to comply with this demand, alleging that it
 19   “is not and has not distributed” boxes containing the South Asian Super Pack file,
 20   and “has not taken any part in encouraging or directing users of Jadoo4 and Jadoo5
 21   boxes to access” SASP or the Protected Channels.
 22                C.    JadooTV Advertises that it Provides Access to the Television
 23                      Programs that Appear on the Protected Channels.
 24         44.    JadooTV promotes its set-top boxes on its website Jadootv.com by
 25   advertising that: “We make available the largest selection of Pakistani content in our
 26   Live TV and VOD sections or through numerous 3rd [party] Apps in our App Store.”
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                                              13                       PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 14 of 28 Page ID #:14



  1   Below is one example for Pakistani content highlighting and annotating several series
  2   airing on the Protected Channels: 5
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  8                                         ARY Digital                     ARY Digital

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                  ARY Digital
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 17             45.    JadooTV promotes its set-top boxes on its website Jadootv.com by
 18   advertising that: “We make available the largest selection of Indian content in our
 19   Live TV and VOD sections or through numerous 3rd [party] Apps in our App Store.”
 20   Below is one example for Indian content highlighting and annotating several series
 21   airing on the Protected Channels: 6
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          See https://jadootv.com/pakistani-content/.
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          See https://jadootv.com/indian-content/.
                                                        14            PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 15 of 28 Page ID #:15



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             Param Vir Chakra                             Seedhi Baat
 14             India Today                                 Aaj Tak
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 16            46.     JadooTV promotes its set-top boxes on its website Jadootv.com by
 17   advertising that: “We make available the largest selection of Bangla content in our
 18   Live TV and VOD sections or through numerous 3rd [party] Apps in our App Store.”
 19   Below is one example for Bangla content highlighting and annotating several series
 20   airing on the Protected Channels: 7
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          See https://jadootv.com/bangla-content/.
                                                     15                 PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 16 of 28 Page ID #:16



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                                  Jatrar Jatra        Dur Aksher Tara
 13                              NTV Bangla            NTV Bangla
 14         47.   JadooTV advertises that it provides access to at least 59 series airing on
 15   the Protected Channels by displaying images or trailers for these works on
 16   Jadootv.com.     Although not required for non-United States works, copyright
 17   registrations are pending with the United States Copyright Office for episodes from
 18   at least four of these series including Dilli Walay Dularay Babu, Dunya Kamran Khan
 19   Kay Sath, Jeeto Pakistan, and On the Front with Kamran Shahid.
 20               D.     JadooTV Provides Infringing Video on Demand Content.
 21         48.   JadooTV also provides a video-on demand (“VOD”) menu on Jadoo set-
 22   top boxes that includes individual movies and television shows that aired on
 23   Protected Channels including ARY Digital, Geo TV, Hum TV, Hum World, Hum
 24   Masala, and Hum Sitaray.
 25         49.   Upon information and belief, Jadoo VOD content is and was hosted and
 26   transmitted to Jadoo Users from computer servers, at least some of which were
 27   controlled by Shah, who is an agent of JadooTV.
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                                                 16                     PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 17 of 28 Page ID #:17



  1         50.   In response to a subpoena from DISH, the service provider of the
  2   computer servers hosting infringing Jadoo VOD content identified its customer’s
  3   name and email address, which upon investigation were linked to Shah.
  4   Additionally, the owner of JadooTV, Sohail, is associated with Shah. The below
  5   photo of Shah (left) with Sohail (center) was posted by Sohail to his Facebook
  6   account on September 12, 2016 while they were in Amsterdam attending the
  7   International Broadcasting Convention. A comment on the photo says “what a team.”
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 20         51.   Several other photos of Shah and Sohail together are posted on their
 21   Facebook accounts. Shah also promotes Jadoo set-top boxes through social media
 22   accounts including Facebook and Flickr.
 23         52.   JadooTV and Shah controlled two major components of the
 24   infringement of DISH’s rights. Shah within the scope of his authority from JadooTV,
 25   controlled computer servers storing the copyrighted works and JadooTV ratified that
 26   conduct by configuring its set-top boxes to access that content, curating the content
 27   into discrete categories for Jadoo Users, and causing cover-art for each work to be
 28   displayed on the set-top box. Sohail and Shah attended the International

                                              17                      PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 18 of 28 Page ID #:18



  1   Broadcasting Convention together and are pictured in photographs along with the
  2   comment “what a team.” Shah’s ID badge for that conference associated him with
  3   the company IDC Resources Pvt Ltd. (“IDC”) of Pakistan. IDC has connections to
  4   JadooTV, a director of IDC is identified as an individual named “Faisal Aftab,”
  5   whose LinkedIn profile describes him as a former Executive Vice President of
  6   JadooTV in charge of “Content Acquisition” and “Network Operations.” The
  7   entanglement between JadooTV, Shah, and the configuration of the servers and set-
  8   top boxes is no coincidence and demonstrates that Shah acted with JadooTV’s actual
  9   authority, and that JadooTV ratified, if not directed, Shah’s acts.
 10                 E. JadooTV Has a Long History of Copyright Infringement
 11          53.    JadooTV is well aware that DISH holds the exclusive rights to distribute
 12   and publicly perform the Protected Channels in the United States. Since November
 13   2013, DISH and the Networks have sent at least 50 written notices of infringement
 14   to JadooTV about the retransmission of the Protected Channels and the works that
 15   aired on the Protected Channels in the United States. A number of these 50 notices
 16   since September 8, 2016, specifically demanded that JadooTV cease providing
 17   infringing VOD content to Jadoo Users, including works airing on the ARY Digital,
 18   Geo TV, Hum TV, Hum World, Hum Masala, and Hum Sitaray channels, but
 19   JadooTV refused to comply with these demands.
 20          54.    In 2014, four people associated with JadooTV were arrested in India for
 21   unlawfully streaming channels to users of Jadoo set-top boxes. 8 “According to police
 22   commissioner M Mahender Reddy, the modus operandi of the gang was that they
 23   would subscribe to various DTH satellite TV connections and by using electronic
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       See https://www.dnaindia.com/india/report-illegal-tv-transmission-racket-exposed-4-arrested-
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      while-mastermind-flees-1998612.

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Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 19 of 28 Page ID #:19



  1   equipment purchased from China, they convert the satellite TV signal into encrypted
  2   streaming content for broadcasting on US-based company Jadoo TV web portal.” 9
  3          55.    In 2016, JadooTV was sued in the United States for copyright and
  4   trademark infringement of one channel at issue in this lawsuit. 10
  5          56.    Despite receiving written notices of infringement from DISH and the
  6   Networks, being sued by a television programmer, and the arrests made in 2014,
  7   JadooTV has continued to engage in willful copyright infringement.
  8                            EAST WEST’S WRONGFUL CONDUCT
  9          57.    East West is a JadooTV “authorized” retailer that sells and promotes
 10   Jadoo set-top boxes to consumers in the United States.
 11          58.    DISH and Networks sent East West two written demands that they cease
 12   distributing, providing, and promoting set-top boxes providing access to the
 13   Protected Channels in the United States. The two demands informed East West that
 14   DISH holds the exclusive rights to distribute and publicly perform the Protected
 15   Channels in the United States.
 16          59.    Following East West’s receipt of these demands, an investigator visited
 17   East West and asked if he could receive certain Protected Channels with a Jadoo set-
 18   top box. In its store, East West had a Jadoo5 set-top box connected to a television
 19   and Bhatt demonstrated to the investigator how the set-top box displayed the
 20   Protected Channels, which Bhatt accessed through the Live TV menu of the set-top
 21   box. The following is a photo of the demonstration provided by East West:
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 26    See https://timesofindia.indiatimes.com/city/hyderabad/Satellite-TV-racket-busted-in-
      Hyderabad/articleshow/37482679.cms (reporting that Sohail absconded).
 27
      10
        See Dunya Holdings Limited v. JadooTV Inc. and Sajid Sohail, No. 1:16-cv-05713-BMC, Dkt. 1
 28
      (E.D.N.Y. Oct. 13, 2016).

                                                   19                          PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 20 of 28 Page ID #:20



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 11         60.   East West sold the investigator a Jadoo5s set-top box for $200 plus tax.
 12         61.   East West also provided specific instructions on how to locate and
 13   install the software files needed to integrate SASP channels, including the Protected
 14   Channels, into the eMedia and Live TV menus of the Jadoo4 and Jadoo5 set-top
 15   boxes. The following is a photo of the instructions provided by East West:
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 26         62.   East West knows that DISH holds the exclusive rights to distribute and
 27   publicly perform the Protected Channels in the United States. East West knows that
 28   selling Jadoo set-top boxes and providing the above instructions to Jadoo Users

                                              20                      PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 21 of 28 Page ID #:21



  1   infringes DISH’s exclusive rights. East West disregarded DISH’s written demands
  2   identified in paragraph 58 and they are continuing to distribute, sell, and promote
  3   Jadoo set-top boxes and instructions that provide access to the Protected Channels in
  4   the United States.
  5                                 CLAIMS FOR RELIEF
  6                                         COUNT I
  7                 Direct Copyright Infringement Under 17 U.S.C. § 501
  8                           Against JadooTV, Sohail, and Shah
  9         63.    DISH repeats and realleges the allegations in paragraphs 1-62.
 10         64.    DISH is a copyright owner under 17 U.S.C. § 106 because DISH holds
 11   the exclusive rights to distribute and publicly perform in the United States, by means
 12   including satellite, OTT, IPTV, and Internet, the programs that make up the Protected
 13   Channels.
 14         65.    The programs that make up the Protected Channels are original
 15   audiovisual works fixed in a tangible medium of expression, and are therefore
 16   copyrightable subject matter. DISH’s copyrights in programs that aired on the
 17   Protected Channels arise under laws of nations other than the United States that are
 18   parties to copyright treaties with the United States, including Pakistan and India,
 19   where the programs were authored and first published. Under 17 U.S.C. §§ 101, 411,
 20   the programs that make up the Protected Channels are non-United States works and,
 21   therefore, registration with the United States Copyright Office is not a prerequisite to
 22   filing a copyright infringement action with respect to these works.
 23         66.    JadooTV and Shah directly infringe DISH’s copyrights in violation of
 24   17 U.S.C. § 501 by distributing and publicly performing programs that make up the
 25   Protected Channels to Jadoo Users. The copyrighted programs were transmitted
 26   from computer servers controlled by Shah to Jadoo Users who accessed the programs
 27   using the VOD menu of the Jadoo set-top box. Shah was the agent of JadooTV,
 28   acting within the scope of such agency when engaging in the misconduct alleged.

                                               21                       PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 22 of 28 Page ID #:22



  1           67.   DISH has not authorized JadooTV or Shah to distribute or publicly
  2   perform the programs that make up the Protected Channels in any manner.
  3           68.   The infringement of DISH’s rights in each program constitutes a
  4   separate and distinct act of copyright infringement.
  5           69.   Sohail is jointly and severally liable for each act of JadooTV’s direct
  6   infringement because he personally directed and participated in, and benefitted from,
  7   JadooTV’s infringing conduct as alleged herein. Sohail supervised the development
  8   of the Jadoo service and set-top boxes and associated website, and has been directly,
  9   actively and personally involved in JadooTV’s infringing activities.
 10           70.   JadooTV’s, Sohail’s, and Shah’s actions are willful, malicious,
 11   intentional, purposeful, and in disregard of and with indifference to the rights of
 12   DISH.
 13           71.   Unless enjoined by the Court, JadooTV, Sohail, and Shah will continue
 14   to engage in acts causing substantial and irreparable injury to DISH that includes
 15   damage to its reputation, loss of goodwill, and lost sales, for which there is no
 16   adequate remedy at law.
 17                                        COUNT II
 18     Inducing and Materially Contributing to Copyright Infringement Under 17
 19                                       U.S.C. § 501
 20                        Against JadooTV, Sohail, and East West
 21           72.   DISH repeats and realleges the allegations in paragraphs 1-62 and 64-
 22   65.
 23           73.   DISH’s exclusive rights to distribute and publicly perform the Protected
 24   Channels and programs that make up the Protected Channels are directly infringed
 25   by the unauthorized retransmission of these programs to Jadoo Users who access the
 26   programs using the eMedia, Live TV, and VOD menus of the Jadoo set-top box.
 27           74.   JadooTV and East West materially contribute to this infringement of
 28   DISH’s exclusive distribution and public performance rights by, among other things,

                                               22                      PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 23 of 28 Page ID #:23



  1   providing Jadoo Users access to the Protected Channels and the programs that make
  2   up the Protected Channels, despite having the ability to prevent such
  3   access. JadooTV and East West also induce the infringement of DISH’s exclusive
  4   distribution and public performance rights by, among other things, creating the
  5   audience for that infringement in the United States.
  6         75.    JadooTV and East West sell Jadoo set-top boxes in the United
  7   States. The Jadoo set-top boxes connect Jadoo Users to unauthorized streams of the
  8   Protected Channels and the programs that make up the Protected Channels. The
  9   Jadoo5s set-top box sold by JadooTV and East West is “pre-configured” so that Jadoo
 10   Users can immediately access the Protected Channels using the eMedia and Live TV
 11   menus of the Jadoo5s set-top box, as well as the programs that make up the Protected
 12   Channels using the VOD menu of the Jadoo5s set-top box, by simply powering on
 13   the device and without the need for manually locating and installing any additional
 14   software.
 15         76.    JadooTV and East West also instruct Jadoo Users having Jadoo4 and
 16   Jadoo5 set-top boxes on how to manually locate and install software files needed to
 17   integrate SASP channels, including the Protected Channels, into the eMedia and Live
 18   TV menus of the set-top box, thereby enabling the Jadoo Users to access the
 19   Protected Channels. The Jadoo4 and Jadoo5 set-top boxes, like the Jadoo5s set-top
 20   box, come pre-configured for accessing the programs that make up the Protected
 21   Channels using the VOD menu of the set-top box.
 22         77.    JadooTV advertises Jadoo set-top boxes as a means of accessing the
 23   Protected Channels and the programs that make up the Protected Channels. East
 24   West similarly promotes Jadoo set-top boxes through in-store demonstrations that
 25   educate Jadoo User’s on how to receive the Protected Channels.
 26         78.    JadooTV selects the programs that are made accessible to Jadoo Users
 27   through the VOD menu of the Jadoo set-top box, including programs that make up
 28   the Protected Channels. JadooTV also maintains and controls the links or bookmarks

                                              23                     PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 24 of 28 Page ID #:24



  1   that are used to connect Jadoo Users to the programs that make up the Protected
  2   Channels using the VOD menu of the Jadoo set-top box.
  3         79.    JadooTV provides material assistance to those directly infringing
  4   DISH’s exclusive rights by providing technical information or assistance necessary
  5   for SASP channels to be viewed on a Jadoo set-top box. The additional channels in
  6   SASP, including the Protected Channels, are presented to Jadoo Users through the
  7   eMedia and Live TV menus of Jadoo set-top boxes, and are or were transmitted using
  8   Highwinds CDN services that require information provided by JadooTV in order to
  9   be received by Jadoo set-top boxes.
 10         80.    JadooTV and East West intend that the Jadoo set-top box be used to
 11   access the Protected Channels and the programs that make up the Protected Channels,
 12   and they promote, encourage, and facilitate using the Jadoo set-top box in this
 13   manner.
 14         81.    JadooTV and East West have actual knowledge that the transmission of
 15   the Protected Channels and the programs that make up the Protected Channels to
 16   Jadoo Users infringes DISH’s exclusive distribution and public performance rights.
 17         82.    JadooTV and East West can take simple measures to prevent further
 18   infringement of DISH’s exclusive rights to distribute and publicly perform the
 19   programs that make up the Protected Channels, such as ensuring the Jadoo5s set-top
 20   box is not pre-configured to access the Protected Channels prior to sale by either not
 21   loading or by removing the software files used to integrate the SASP channels,
 22   including the Protected Channels, into the eMedia and LiveTV menus of the set-top
 23   box. JadooTV and East West can also block Jadoo set-top boxes from accessing
 24   servers and URLs that are identified to be streaming the Protected Channels or the
 25   content that airs on the Protected Channels. JadooTV and East West can also easily
 26   refrain from providing instructions for Jadoo Users to manually locate and install
 27   software files needed to integrate SASP channels, including the Protected Channels,
 28   into the eMedia and LiveTV menus of the Jadoo4 and Jadoo5 set-top

                                              24                       PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 25 of 28 Page ID #:25



  1   boxes. JadooTV can readily prevent Jadoo Users from accessing the programs that
  2   make up the Protected Channels using the VOD menu of the Jadoo set-top box by
  3   disabling the links or bookmarks to those programs.
  4           83.    Sohail is jointly and severally liable for each act of infringement for
  5   which JadooTV is liable because he personally directed and participated in, and
  6   benefitted from, JadooTV’s infringing conduct as alleged herein. Sohail supervised
  7   the development of the Jadoo service and set-top boxes and associated website, and
  8   has been directly, actively and personally involved in JadooTV’s infringing
  9   activities.
 10           84.    JadooTV’s, Sohail’s, and East West’s actions are willful, malicious,
 11   intentional, and purposeful, and in disregard of and with indifference to the rights of
 12   DISH.
 13           85.    Unless enjoined by the Court, JadooTV, Sohail, and East West will
 14   continue to engage in acts causing substantial and irreparable injury to DISH that
 15   includes damage to its reputation, loss of goodwill, and lost sales, for which there is
 16   no adequate remedy at law.
 17                                        COUNT III
 18                 Vicarious Copyright Infringement Under 17 U.S.C. § 501
 19                  Against JadooTV and Sohail (Alternative to Count I)
 20           86.    DISH repeats and realleges the allegations in paragraphs 1-62 and 64-
 21   65.
 22           87.    Shah was infringing DISH’s copyrights in programs that aired on the
 23   Protected Channels by acting as the source that was distributing and publicly
 24   performing them to Jadoo Users. The copyrighted programs were transmitted from
 25   computer servers controlled by Shah to Jadoo Users that accessed the programs using
 26   the VOD menu of the Jadoo set-top box.
 27           88.    JadooTV had the legal right and the actual ability to supervise and
 28   control the infringing activity of its agent Shah. JadooTV refused to take any action

                                               25                       PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 26 of 28 Page ID #:26



  1   to stop the infringement of DISH’s exclusive rights in the programs that make up the
  2   Protected Channels.
  3          89.    JadooTV receives a direct financial benefit from the distribution and
  4   public performance of copyrighted programs aired on the Protected Channels
  5   transmitted to Jadoo Users. The availability of the infringing programming attracts
  6   and draws consumers to JadooTV and its distributors and retailers, resulting in an
  7   increase in the sale of set-top boxes by JadooTV. JadooTV also makes significant
  8   revenue from selling advertising on its service.
  9          90.    JadooTV’s is infringing DISH’s copyrights in violation of 17 U.S.C. §
 10   501. The infringement of DISH’s rights in each audiovisual work constitutes a
 11   separate and distinct act of copyright infringement.
 12          91.    Sohail is jointly and severally liable for each act of infringement for
 13   which JadooTV is liable because he personally directed and participated in, and
 14   benefitted from, JadooTV’s infringing conduct as alleged herein. Sohail supervised
 15   the development of the Jadoo service and set-top boxes and associated website, and
 16   has been directly, actively and personally involved in JadooTV’s infringing
 17   activities.
 18          92.    JadooTV’s and Sohail’s infringement of DISH’s copyrighted works is
 19   willful, malicious, intentional, purposeful, and in disregard of and with indifference
 20   to the rights of DISH.
 21          93.    Unless enjoined by the Court, JadooTV and Sohail will continue to
 22   engage in acts causing substantial and irreparable injury to DISH that includes
 23   damage to its reputation, loss of goodwill, and lost sales, for which there is no
 24   adequate remedy at law.
 25                                 PRAYER FOR RELIEF
 26          WHEREFORE, DISH prays for judgment against Defendants:
 27          A.     For a grant of permanent injunctive relief under 17 U.S.C. § 502
 28   restraining and enjoining Defendants, and any of their officers, agents, servants,

                                              26                       PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 27 of 28 Page ID #:27



  1   employees, attorneys, or other persons acting in active concert or participation with
  2   the foregoing that receives actual notice of the order (including, without limitation,
  3   distributors and retailers of any Jadoo set-top box), from:
  4                 1.    transmitting, streaming, distributing, or publicly performing in
  5   the United States, with any Jadoo set-top box, or any other device, application,
  6   service, or process, any of the Protected Channels or any of the programming that
  7   comprises any of the Protected Channels;
  8                 2.    distributing, selling, providing, or promoting any product or
  9   service in the United States, including any Jadoo set-top box, that comprises the
 10   whole or part of a network or service for the distribution or public performance of
 11   any of the Protected Channels or any of the programming that comprises any of the
 12   Protected Channels;
 13                 3.    advertising, displaying, or marketing any Jadoo set-top box or
 14   service in the United States in connection with any of the Protected Channels or any
 15   of the programming that comprises any of the Protected Channels; and
 16                 4.    inducing or contributing to others’ conduct that falls within 1, 2,
 17   or 3 above.
 18         B.      For the 40 or more registered works, statutory damages as awarded by
 19   the Court up to $150,000 per registered work infringed under 17 U.S.C. § 504(c), or
 20   the Defendants’ profits attributable to the infringement of those registered works
 21   under 17 U.S.C. § 504(b).
 22         C.      For unregistered works, an award of Defendants’ profits attributable to
 23   the infringement of each unregistered work under 17 U.S.C. § 504(b).
 24         D.      For DISH’s attorneys’ fees and costs under 17 U.S.C. § 505.
 25         E.      For impoundment and disposition of all infringing articles under 17
 26   U.S.C. § 503.
 27         F.      For pre- and post-judgment interest on all monetary relief, from the
 28   earliest date permitted by law at the maximum rate permitted by law.

                                               27                       PLAINTIFF’S COMPLAINT
Case 2:18-cv-09768-FMO-KS Document 1 Filed 11/20/18 Page 28 of 28 Page ID #:28



  1         G.    For such additional relief as the Court deems just and equitable.
  2

  3   Dated: November 20, 2018
  4                                   Respectfully submitted,
  5
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                                             28                       PLAINTIFF’S COMPLAINT
